       Case 2:13-cv-00685-RAH-KFP Document 468 Filed 08/20/21 Page 1 of 4




                           IN THE UNITED STATES DISTRICT COURT
                           FOR THE MIDDLE DISTRICT OF ALABAMA
                                    NORTHERN DIVISION

GARNET TURNER, ET AL., individually                   )
and on behalf of all others                           )
similarly situated,                                   )
                                                      )
                          Plaintiffs,                 )
                                                      )
                                                      )        CASE NO. 2:13-CV-685-RAH
                                                      )
ALLSTATE INSURANCE COMPANY,                           )
                                                      )
                          Defendant.                  )
                                                      )
JOHN E. KLAAS                                         )
on behalf of himself and all others                   )
similarly situated, et al.,                           )
                                                      )        CASE NO. 2:15-CV-406-RAH
                                                      )
                          Plaintiffs,                 )
                                                      )
v.                                                    )
ALLSTATE INSURANCE COMPANY,                           )
                                                      )
                          Defendant.                  )

            NOTICE OF DEFENDANT ALLSTATE INSURANCE COMPANY
       THAT THE U.S. COURT OF APPEALS FOR THE ELEVENTH CIRCUIT HAS
    DENIED PLAINTIFFS MOTION FOR CONTINUANCE AND FOR LIMITED REMAND

         On August 16, 2021, Turner Plaintiffs filed a Notice advising the Court that they have

moved for a limited remand of the appeals in this case. (Doc. 466.) This notice is related to

Turner Plaintiffs’ pending Motion pursuant to Fed. R. Civ. P. 62.1 to vacate the final judgment

(Doc. 465), which the Klaas Plaintiffs joined (Doc. 467). Defendant Allstate Insurance Company

(“Allstate”) hereby gives notice to the Court that, on August 20, 2021, the U.S. Court of Appeals

for the Eleventh Circuit denied Turner Plaintiffs’ Motion for Continuance of Oral Argument and

for Limited Remand. (Exhibit 1., Eleventh Circuit Order.) The Eleventh Circuit had previously

denied Turner Plaintiffs’ Motion to Stay. (See Exhibit 2., Eleventh Circuit Order.) Therefore, the


US_Active\118805122\V-2
       Case 2:13-cv-00685-RAH-KFP Document 468 Filed 08/20/21 Page 2 of 4




Eleventh Circuit will hear oral argument addressing Turner and Klaas Plaintiffs’ appeal on

August 26, 2021 and will decide the matter thereafter.


         Pursuant to Federal Rule of Civil Procedure 62.1, the Court has three options to address

Plaintiffs’ motion for vacatur: “(1) defer considering the motion; (2) deny the motion; or (3) state

either that it would grant the motion if the court of appeals remands for that purpose or that the

motion raises a substantial issue.” F. R. Civ. P. 62.1(a); (see Doc. 465, at 17) (requesting an

indicative ruling under Rule 62.1); see e.g. O’Neal Constructors v. Drt Am., No. 1:19-cv-1640-

SCJ, 2021 U.S. Dist. LEXIS 150357, at *3 (N.D. Ga. Feb. 26, 2021) (deferring its ruling under

Rule 62.1, where oral argument before the Eleventh Circuit was scheduled “in approximately

one month,” explaining “the fact that the appellate proceedings are ongoing and oral argument is

so close, … , the Court deems it proper to stay its hand and defer consideration of the pending

motions until a mandate is issued by the Eleventh Circuit Court of Appeals.”). Although the

Court has not issued an Order to Show Cause directing Allstate to respond to Plaintiffs’ Motion

to Vacate (Doc. 465.), should the Court request further briefing and response from Allstate,

Allstate will address the substantive issues raised in the Plaintiffs’ motion upon such schedule as

directed by the Court. Nevertheless, Allstate’s position remains that this matter is appropriately

in the hands of the Court of Appeals.




                                                 2
US_Active\118805122\V-2
       Case 2:13-cv-00685-RAH-KFP Document 468 Filed 08/20/21 Page 3 of 4




Dated: 20th day of August, 2021.

                                           Respectfully submitted,


                                           /s/ Albert L. Vreeland, II
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                                       3
US_Active\118805122\V-2
       Case 2:13-cv-00685-RAH-KFP Document 468 Filed 08/20/21 Page 4 of 4




                                  CERTIFICATE OF SERVICE

         I hereby certify that on August 20, 2021, I filed the foregoing with the Clerk of the Court

via the ECF system, which will send notice and a copy of the same to all counsel of record.

                                                  /s/ Albert L. Vreeland, II
                                                  An attorney for Defendant




                                                  4
US_Active\118805122\V-2
